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 1                                                         THE HONORABLE THOMAS S. ZILLY
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   NASTARAN SIROUSIAN,                            )
                                                    )   Case No. 2:19-cv-00072-TSZ
10                                    Plaintiff,    )
                                                    )   JOINT STIPULATION TO
11          v.                                      )   REMAND REMOVED ACTION;
                                                    )   ORDER
12   KINDERCARE LEARNING CENTERS                    )
     LLC, a Delaware corporation,                   )
13                                                  )
                                    Defendant.      )
14                                                  )
15          Plaintiff Nastaran Sirousian (“Plaintiff”) and Defendant KinderCare Learning Centers

16   LLC (“Defendant”) stipulate as follows:

17          1.     Plaintiff commenced this action on or around October 30, 2018, by filing, along

18   with three other named plaintiffs who are no longer parties, a Class Action Complaint in King

19   County Superior Court, captioned Sirousian v. KinderCare Learning Centers, LLC, Case No. 18-

20   2-27341-2 SEA (“State Court Action”). Plaintiff’s Class Action Complaint was served on

21   Defendant on or around October 31, 2018.

22          2.     On November 20, 2018, Plaintiff filed an Amended Complaint in the State Court

23   Action, on behalf of herself only. Plaintiff’s Amended Complaint was served on Defendant on

24   or around November 26, 2018.

25          3.     On January 15, 2018, Defendant filed a Notice of Removal of the State Court

26   Action to this Court pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 (Dkt. 1), based on diversity

27   jurisdiction, attaching Plaintiff’s Amended Complaint in the State Court Action.
     JOINT STIPULATION TO REMAND;                                              LANE POWELL PC
                                                                        1420 FIFTH AVENUE, SUITE 4200
     ORDER - 1                                                                   P O BOX 91302
     CASE NO. 2:19-CV-00072-TSZ                                          SEATTLE, WASHINGTON 98111
                                                                         206.223.7000 FAX: 206.223.7107
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 1          4.      In its Minute Order of February 14, 2019 (Dkt. 12), this Court instructed
 2   Defendant to submit an amended corporate disclosure statement pursuant to Local Civil Rule
 3   7.1, identifying each of the members or owners of each of the five foreign partnerships and two
 4   Delaware partnerships (“Seven Members”) that are members of Defendant’s parent LLC (KC
 5   Parent, LLC); and identify the citizenship of each member or owner of the Seven Members.
 6          5.      In light of the fact that some members or owners of the Seven Members are
 7   themselves partnerships or LLCs, identifying the citizenship of these members or owners would
 8   necessitate additional, expanding layers of disclosure, extending to entities and persons with no
 9   connection to this litigation. As a result, Defendant has been unable to determine with certainty
10   the citizenship of all members or owners of each of the Seven Members of its parent LLC.
11          6.      The Parties have thus agreed and stipulate that this case should be remanded to
12   King County Superior Court.
13          DATED: March 8, 2019
14                                                LANE POWELL PC
15

16                                                By s/ John S. Devlin
                                                     John S. Devlin III, WSBA No. 23988
17                                                   Taylor Washburn, WSBA No. 51524
18                                                    1420 Fifth Avenue, Suite 4200
                                                      P.O. Box 91302
19                                                    Seattle, WA 98111-9402
                                                      Telephone: 206.223.7000
20                                                    Facsimile: 206.223.7107
                                                      devlinj@lanepowell.com
21                                                    washburnt@lanepowell.com
22                                                Attorneys for Defendant KinderCare
                                                  Learning Centers LLC
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     JOINT STIPULATION TO REMAND;                                               LANE POWELL PC
                                                                         1420 FIFTH AVENUE, SUITE 4200
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          Case 2:19-cv-00072-TSZ Document 14 Filed 03/22/19 Page 3 of 4




 1                                    SHISHIDO TAREN PLLC
 2

 3                                    By s/ Jordan A. Taren
                                         Jordan A. Taren, WSBA No. 50066
 4                                       Robin J. Shishido, WSBA No. 45926
 5                                       1001 Fourth Avenue, Suite 3200
                                         Seattle WA, 98154
 6                                       Telephone: (206) 684-9320
                                         jtaren@shishidotaren.com
 7                                       rshishido@shishidotaren.com
 8                                    Attorneys for Plaintiff
 9

10                                    MACDONALD HOAGUE & BAYLESS
11

12                                    By s/ Jeffrey L. Taren
                                         Jeffrey L. Taren, WSBA No. 50275
13                                       Katherine Chamberlain, WSBA No. 40014
14                                       705 Second Avenue, Suite 1500
                                         Seattle, WA 98104
15                                       Telephone: (206) 622-1604
                                         JeffreyT@mhb.com
16                                       KatherineC@mhb.com
17                                    Attorneys for Plaintiff
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     JOINT STIPULATION TO REMAND;                                      LANE POWELL PC
                                                                1420 FIFTH AVENUE, SUITE 4200
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 1                                               ORDER
 2           On March 8, 2018, the Parties in the above-captioned action filed a Joint Stipulation to
 3   Remand Removed Action. Having reviewed that stipulation, and finding good cause, the Court
 4   hereby orders as follows:
 5           1.     Pursuant to 28 U.S.C. § 1447(c), all further proceedings in this action, captioned
 6   Sirousian v. KinderCare Learning Centers, LLC, Western District of Washington, Case No. 2:19-
 7   cv-00072-TSZ, are hereby remanded to the Superior Court for King County in the State of
 8   Washington, without fees or costs to either party;
 9            2.    The Clerk of the Court shall send copies of this Order to all counsel of record for
10   all parties;
11           3.     Pursuant to 28 U.S.C. § 1447(c), the Clerk of the Court shall mail a certified copy
12   of this Order to the Clerk of the Court for King County Superior Court;
13           4.     The Clerk of the Court shall also transmit the record herein to the Clerk of the
14   Court for King County Superior Court;
15           5.     The parties shall file nothing further in this matter, and are instead instructed to
16   seek any further relief to which they believe they are entitled from the courts of the State of
17   Washington, as may be appropriate in due course; and
18           6.     The Clerk of the Court shall CLOSE this case.
19           IT IS SO ORDERED.
20           DATED this 22nd day of March, 2019.
21

22                                                        A
                                                          Thomas S. Zilly
23
                                                          United States District Judge
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     JOINT STIPULATION TO REMAND;                                                LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     ORDER - 4                                                                     P O BOX 91302
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